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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT

THE ESTATE OF GREGORY DAVIS,                  )
Melissa Davis, Administrator and              )
MELISSA DAVIS, individually,                  )
                    Plaintiffs,               )       Civil Case No.: 5:22-cv-0123
                                              )
       v.                                     )
                                              )
SERHAT DANIEL GUMRUKCU,                       )
WILLIAM ANDERSON WITTEKIND,                   )
SG & AW HOLDINGS, LLC, and                    )
GTB HOLDINGS, LLC,                            )
                Defendants.                   )


 OPPOSITION OF WITTEKIND, SG & AW HOLDINGS, LLC AND GTB HOLDINGS,
LLC TO PLAINTIFFS’ MOTION TO ATTACH ADDITIONAL PROPERTY OF SERHAT
                            GUMRUKCU
       Defendants William Anderson Wittekind, SG & AW Holdings, LLC and GTB Holdings,

LLC, by and through their attorneys, Sheehey Furlong & Behm P.C., oppose Plaintiffs’ Motion to

Attach Additional Property. In support of this Opposition, they join in and adopt Defendant

Serhat Gumrukcu’ s Opposition to Plaintiffs’ Motion to Attach Additional Property as the basis

for their objection.1 Thus, the reasons for their objection are that Plaintiffs’ Motion is premature

or otherwise unallowable in light of the stay imposed by the Court and that Plaintiffs have not

met their factual or procedural burden to successfully obtain an attachment of additional

property, as discussed more fully below and in prior filings.




1
 In filing this motion and otherwise responding to Plaintiffs’ Motion to Attach Additional
Property of Serhat Gumrukcu, Mr. Wittekind, SG & AW Holdings, LLC and GTB Holdings,
LLC in no way concede personal jurisdiction in this case or otherwise waive their rights to
contest personal jurisdiction.
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        Plaintiffs seek to attach Serhat Gumrukcu’s interests in SG & AW Holdings, LLC and

GTB Holdings, LLC. As pointed out in Mr. Gumrukcu’s Opposition, as long as the civil case is

stayed, Mr. Gumrukcu is unable to effectively challenge Plaintiffs’ asserted basis for attaching

the interests in GTB Holdings, LLC and SG & AW Holdings, LLC. Indeed, Plaintiffs have not

demonstrated that Mr. Gumrukcu has any legitimate interest in either of the LLCs. As discussed

in prior proceedings in this matter, the corporate action taken by Mr. Gumrukcu to return his

shares to SG & AW Holdings, LLC occurred in March 2020, long before he was aware of any

threatened litigation and at a time that he was far from insolvency, thereby dooming any voidable

transaction claim. However, as long as this case is stayed due to the criminal proceedings, Mr.

Gumrukcu cannot provide evidence in further support of this claim and would thereby be

prejudiced if the Court were to proceed. Additionally, given the stay, the LLCs are unable to file

or obtain decisions on motions to dismiss which are likely to result in the dismissal of all claims

against them.

       Furthermore, Plaintiffs have failed to satisfy their burden in seeking an attachment. The

LLCs are legal entities distinct from their members. See Swart Enterprises, Inc. v. Franchise Tax

Bd., 7 Cal. App. 5th 497, 510, 212 Cal.Rptr.3d 670 (2017). A corollary to this basic principle is

that limited liability companies are not liable for the debts or obligations of their members.

Therefore, Plaintiffs cannot lawfully attach property belonging to the LLCs to satisfy Mr.

Gumrukcu’s obligations. Nor can they properly “attach” the interests of a single member

pursuant to V.R.C.P. 4.1. Moreover, the assets of the LLCs, which are separate legal entities, are




                                                 2
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beyond the reach of this action; this Court lacks jurisdiction to attach real property located in

California, such as a home in California.2

       WHEREFORE, it is respectfully requested that the Court deny Plaintiffs’ Motion to

Attach Additional Property or, alternatively, defer ruling on it until the stay of litigation has been

lifted following resolution of Mr. Gumrukcu’s criminal matter.

       DATED at Burlington, Vermont this 24th day of May 2024.
                                               WILLIAM ANDERSON WITTEKIND, SG &
                                               AW HOLDINGS, LLC AND GTB HOLDINGS,
                                               LLC

                                       By:     /s/Heather E. Ross
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2
 Plaintiffs cannot successfully accomplish a writ of attachment on the LLCs even if they were
able to show that they were entitled to such relief. In Vermont, as in California, the “exclusive
remedy” for a creditor seeking to enforce a judgment against a member of an LLC for their
membership interest is to obtain a charging order—a completely different remedy from a writ of
attachment. See 11 V.S.A. § 4074(h), Cal. Corp. Code, § 17705.03(f).


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